                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      NO. 3:09-00262
                                               )      JUDGE CAMPBELL
DARYL BORNSTEIN                                )

                                          ORDER

       The sentencing hearing currently scheduled for August 21, 2014, is RESCHEDULED for

August 25, 2014, at 10:00 a.m.

       It is so ORDERED.

                                               ____________________________________
                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




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